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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ERIN TONKYRO,
DANA STRAUSER,
KARA MITCHELL-DAVIS,
YENNY HERNANDEZ,                                     Case No. 8:16-cv-2419-T-36AEP

       Plaintiffs,

       v.

ROBERT WILKIE , ACTING SECRETARY,
DEPARTMENT OF VETERANS AFFAIRS,

      Defendant.
__________________________________/

   PLAINTIFFS’ UNOPPOSED MOTION TO AMEND THEIR SECOND AMENDED
  COMPLAINT TO DROP HERNANDEZ AS A PARTY IN COUNT 1, AND REFLECT
  THAT ROBERT WILKIE ACTING SECRETARY OF THE VETERANS AFFAIRS IS
                       THE PROPER DEFENDANT

       Plaintiffs, Erin Tonkyro, Dana Strauser, Kara N. Mitchell–Davis and Yenny Hernandez,

by and through their undersigned attorney, hereby file their motion to amend their Second

Amended Complaint ( Doc. 39) with Respect to Count I pursuant to Rule 15 of the Federal

Rules of Civil Procedure to drop Yenny Hernandez as a Party Plaintiff only in Count 1 and to

reflect the fact that Robert Wilkie is now the Acting Secretary of the Department of Veterans

Affairs and states as follows is the Proper Defendant and states as follows:

       1.       In the Second Amended Complaint, Paragraph 33 of Count I for retaliation, all

four Plaintiffs sued David J. Shulkin, MD as Secretary of the Department of Veterans Affairs, for

Retaliation. The Plaintiffs pled the following:

        Plaintiffs, Tonkyro, Strauser, Davis and Hernandez retaliation under Title VII. In
        addition, Hernandez sues David J. Shulkin, MD as Secretary of the Department
        of Veterans Affairs for retaliation based upon sex.



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          2.    The Plaintiffs want to drop Yenny Hernandez as a party from Count I for

retaliation.   Yenny Hernandez will remain as a Party Plaintiff in Counts II, III, and IV of the

proposed Third Amended Complaint.

          3.    The Plaintiffs also want to amend the complaint to take out the name of David

Shulkin, MD, Secretary of the Department of Veterans Affairs who is no longer Secretary and

replace him with the new Acting Secretary of the Department of Veterans Affairs, Robert

Wilkie.

          4.    Finally, Plaintiff Hernandez is dropping the phrase “sexual harassment based on”

in the introduction to Count III because it is unnecessary language which is confusing.

          5.    The Defendant has no objections to this motion. There is no prejudice to the

Defendant as trial is set for July 2, 2018.

          5.    The Federal Rule of Civil Procedure 15 authorizes the Plaintiffs to file this type of

motion. See J. C. Gibson Plastering Co. Inc. v. Xl Specialty Insurance Company. 2007 WL

2128183 (M.D. Fla. 2007).

          6.    If the Court grants the Plaintiff’s Motion, the Plaintiffs will submit a third

Amended Complaint which is attached hereto as Exhibit A.

                                                      Respectfully submitted,

                                                      /S/ Joseph D. Magri
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY the foregoing document was filed with the Clerk of the Court
using the CM/ECF system which will send a notice of electronic filing on this 25th day of May
2018 to:

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